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                              UNITED STATES DISTRICT COURT
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                             CENTRAL DISTRICT OF CALIFORNIA
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11     JAMEY PERRY,                              Case No.: 2:20-CV-09634-AB (MRWx)
12                   Plaintiff,
                                                  [PROPOSED] ORDER
13       vs.                                      DISMISSING CIVIL ACTION
14                                                WITH PREJUDICE
15     MOUNTAIN DREAM, INC.; a
16     California corporation; JAY W.
       JOHNSON; and DOES 1-9,
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                     Defendants.
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               THE COURT having been advised by counsel that the above-entitled action
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       has been settled;
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               IT IS THEREFORE ORDERED that this action is hereby dismissed with
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      prejudice as to all parties and claims pursuant to Federal Rule of Civil Procedure
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      41(a)(1)(A(ii). Each party shall bear their own attorneys’ fees and costs.
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               IT IS SO ORDERED.
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26
      Dated: September 30, 2021              ______________________________
27                                           HONORABLE ANDRÉ BIROTTE JR.
28                                           UNITED STATES DISTRICT JUDGE

                                            ORDER - 1
